  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 1 of 15 PageID #:1080




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITED STATES OF AMERICA                                   )
                                                           ) No.   14 CR 155 - 1
                    v.                                     )
                                                           ) Judge Amy J. St. Eve
TOBY JONES                                                 )


                          MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       Defendant Toby Jones has moved to suppress KB’s eyewitness identification of Toby

Jones on the grounds that it violates his Fifth Amendment right to Due Process under the United

States Constitution. For the reasons stated below, the Court denies his motion.

                                         BACKGROUND

       On March 31, 2015, a grand jury returned a fourteen count Second Superseding

Indictment (the “Indictment”) against Defendant Kelsey Jones and co-defendant Toby Jones.

The Indictment charges Defendant Toby Jones in twelve of the fourteen counts. Specifically,

Count One charges Defendant Toby Jones with conspiring with Kelsey Jones and others to

intentionally possess with the intent to distribute and to distribute a controlled substance, in

violation of 21 U.S.C. § 846. Count Two charges Defendant with knowingly and intentionally

distributing a controlled substance on or about December 17, 2013. Count Three charges

Defendant Toby Jones with on or about December 30, 2013, knowingly and intentionally

distributing a controlled substance. Count Four charges him with knowingly and intentionally

distributing a controlled substance on or about January 15, 2014. Similarly, Count Five charges

Defendant with knowingly and intentionally distributing a controlled substance on or about

February 4, 2014. Count Six charges that on or about February 25, 2014, Defendant knowingly
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 2 of 15 PageID #:1081




and intentionally distributed a controlled substance. Count Seven charges Defendant, along with

co-defendant Kelsey Jones, with knowingly and intentionally distributing cocaine base, on or

about March 19, 2014. Count Eight charges Defendant Toby Jones with on or about March 25,

2014, knowingly and intentionally distributing a controlled substance.

       Count Nine of the Indictment charges Defendant Toby Jones with knowingly possessing

a firearm in furtherance of a drug trafficking crime as charged in Count Eight of the Indictment.

Count Ten charges Defendant and his co-defendant Kelsey Jones with conspiring to kill and

attempt to kill a person, and to knowingly engage in conducting to cause bodily injury to another

person, with the intent to retaliate against any person for providing information to a law

enforcement officer regarding the commission and possible commission of a federal offense.

Count Eleven charges Defendant with attempting to kill another person with intent to retaliate

against a person for providing a law enforcement officer with information related to the

commission and possible commission of a federal offense. Finally, Count Twelve charges

Defendant with knowingly using a firearm during and in relation to a crime of violence, namely

the conspiracy with the intent to murder a federal informant with intent to retaliate, as charged in

Count Ten, and the attempted murder of a federal informant with intent to retaliate, as charged in

Count Eleven. The Indictment also contains a forfeiture allegation against Defendant Toby

Jones and his co-defendant Kelsey Jones.

                                           ANALYSIS

       Defendant asks the Court to suppress the eyewitness identification of Defendant Toby

Jones by KB as the man who shot him on March 27, 2014, on the grounds that the government’s

procedures unnecessarily suggested his identification thereby violating his due process rights.

KB is the victim of the crime charged in Count Eleven of the Indictment. On September 15,



                                                 2
     Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 3 of 15 PageID #:1082




2015, the Court held a hearing1 on the motion. During the hearing, Defendant called the

following witnesses to testify: Oak Park Police Detective T. Unzicker, ATF Special Agent Chris

Labno, ATF Special Agent Tony Heiserman, and KB. The government called retired Oak Park

Police Detective Robert Taylor to testify at the hearing. In addition, the parties entered

stipulations as to the testimony of Oak Park Police Officer P. Baudo and Detective James

Sperandio. The Court carefully assessed the testimony and demeanor of each witness during the

hearing and makes its factual findings below.

I.       Legal Standard

         Defendants have a due process right not to be subject to unreasonably suggestive

identification procedures that create a “substantial likelihood of irreparable misidentification.”

Neil v. Biggers, 409 U.S. 188, 198, 93 S. Ct. 375, 34 L. Ed. 2d 401 (1972) (citation and internal

quotation marks omitted). “[D]ue process concerns arise only when law enforcement officers

use an identification procedure that is both suggestive and unnecessary.” Perry v. New

Hampshire, 132 S. Ct. 716, 724, 181 L. Ed. 2d 694 (2012) (citations omitted). “Even when the

police use such a procedure, ... suppression of the resulting identification is not the inevitable

consequence.” Id. Courts should suppress the identification only when there is “a very

substantial likelihood of irreparable misidentification.” Id. (citations and quotations omitted).

An irreparable misidentification exists when “the procedures of trial would not suffice to allow

jurors to separate reliable from mistaken identifications.” United States v. Johnson, 745 F.3d

227, 229 (7th Cir. 2014).

1
 A suppression hearing is warranted only when the defendant presents a disputed issue of
material fact that will affect the outcome of the motion. See United States v. Curlin, 638 F.3d
562, 564 (7th Cir. 2011). The government here conceded that a limited hearing was necessary
given that “key moments in the identification procedure were not well documented by law
enforcement.” (R. 174, Response at 10.)


                                                  3
      Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 4 of 15 PageID #:1083




          The Seventh Circuit has adopted a two-prong approach to determine whether

identification procedures have risen to a constitutional violation. First, courts consider whether

the identification procedure that law enforcement used was “both suggestive and unnecessary.”

United States v. Sanders, 708 F.3d 976, 983-84 (7th Cir.) cert. denied, 134 S. Ct. 803, 187 L. Ed.

2d 608 (2013), citing Perry, 132 S. Ct. at 724. Second, courts look to the “totality of the

circumstances” to determine whether other indicia of reliability “outweigh[ ] ... the corrupting

effect of law enforcement suggestion.” Id., citing Perry, 132 S.Ct. at 725. Courts only look to

the second prong if the defendant establishes the first prong. See Perry, 132 S.Ct. at 730.

          In order to establish that the identification procedure was both suggestive and

unnecessary under the first prong, “the situation must have involved ‘improper state conduct’—

one in which the circumstances did not justify law enforcement’s suggestive behavior.” Sanders,

708 F.3d at 984. This prong “focuses on police conduct—its suggestiveness and necessity in the

specific situation at hand.” Id.

II.      The Shootings and Subsequent Investigation

          Some of the charges in the Indictment pertain to two separate shootings at 454 North

Austin Blvd. in Oak Park, Illinois – one on March 27, 2014 and one on April 2, 2014. Defendant

is charged in connection with the March 27, 2014 shooting and as part of a conspiracy containing

both shootings as acts in furtherance of the conspiracy. In addition, Defendant is charged with

knowingly using a firearm in relation to the conspiracy to murder a federal informant. KB, the

victim of the March 27 shooting, subsequently identified Defendant as the shooter in a photo

lineup. Defendant seeks to suppress KB’s identification on the grounds that it violates his Due

Process rights under the Constitution.




                                                   4
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 5 of 15 PageID #:1084




       A.      Shooting of KB on March 27, 2014

       On March 27, 2014, shortly after midnight, KB was shot in his apartment located on the

second floor of 464 North Austin Blvd. in Oak Park, Illinois. KB had returned to the apartment

after being out with his dad and some friends where he had consumed a couple of beers and

smoked two blunts of marijuana. KB heard a knock on his front door and went to answer it.

When he asked who it was, a male voice responded that he knew who it was. (Transcript of

Hearing (“Tr.”) at 67.) KB looked out the peephole of his apartment door, but he could not see

anyone because someone’s finger was blocking the peephole. (Tr. at 68.) The person then

removed his finger from the peephole and KB saw two African American males standing in the

hallway. KB did not recognize the individuals. The man who eventually shot him was standing

directly in front of KB’s apartment door. (Id.) He started pounding on the door and yelled, “It’s

me, open the fucking door.” (Def. Ex. 2, Grand Jury Statement at 8.) KB told him “Wrong

door.” (Id.) The individual started to kick the door at that point and then reached toward his

waistband. KB heard a shot fired and felt a pain in his right thigh. When KB turned to run from

the door, he heard two additional shots fired.

       The Oak Park Police thereafter responded to the shooting, and KB was taken to Loyola

Medical Center in Chicago for a gunshot wound to his right thigh. At approximately, 2:10 am on

March 27, 2014, Oak Park Police Detectives Unzicker and Taylor and Officer Paul Baudo

interviewed KB at Loyola Medical Center where he went to receive treatment. KB, who was in

a hospital bed, was in pain, but coherent, according to Detective Unzicker. Detective Unzicker

also testified that he believed KB had received some medication, but he did not know what or

how much. KB described his shooter to the Detectives as “a male black, dark complexion, clean

shaven, 27, 28 years old. Said he didn't know how tall he was, but that he had a muscular build.”



                                                 5
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 6 of 15 PageID #:1085




(Tr. at 7.) His testimony was consistent with his report of the interview. In addition, Officer

Baudo’s stipulated testimony reflected the same description by KB on March 27 – “a muscular

dark skinned black male, approximately 27 to 28 years of age….” (R. 213, Stipulation as to

Officer Paul Baudo’s Testimony.) Detective Taylor also corroborated this description. KB,

however, testified that he did not give the officers any information at the hospital and told them

that he did not see anyone. KB said that he was not cooperative that night. (Tr. at 65.) He

subsequently said that he was not sure if he gave them a description of the shooter when they

interviewed him at the hospital. KB then testified that he did not give them a description. He

admitted, however, that he had received medication at the hospital that made him drowsy. (Id. at

105.)

        Detective Taylor interviewed KB again on March 28, 2014. During this interview, KB

gave a different description of the shooter. Specifically, he said the shooter was light-skinned,

not dark-skinned. (Id. at 110-11.) He further told the Detective that the shooter was clean

shaven. (Id.) In addition, KB told Detective Taylor that he did not want to get involved in the

situation, did not want to go to court, did not want to testify and did not want to identify anyone.

KB said he wanted to move on and put the incident behind him. (Id.)

        B.     Shooting of CI on April 2, 2014

        On April 2, 2014, an ATF confidential informant (“CI”) was shot in the parking lot

behind 464 North Austin Blvd. This address is the same building where Individual A shot KB

six days earlier. CI lived in a residential apartment unit on the third floor of 464 North Austin

Blvd. The CI had been cooperating with law enforcement and had participated in an undercover

narcotics and firearms investigation that gave rise to several of the charges in this case. The




                                                 6
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 7 of 15 PageID #:1086




description of the shooter fit the general description of the shooter in the March 27, 2014

incident. (Tr. at 128.)

        C.      KB’s Meeting with Detective Robert Taylor

        Shortly after the April 2, 2014 shooting, KB went to the Oak Park police station and met

with Detective Taylor. Prior to the meeting, Detective Taylor put together two color photo

lineups based on information and names he obtained from the ATF. (Gov. Ex. Taylor 1 &

Taylor 2.) One of the lineups contained Toby Jones’ photograph (Gov. Ex. Taylor 1) and the

other one contained Kelsey Jones’ photograph. (Gov. Ex. Taylor 2.) Detective Taylor contacted

KB after he had this information and asked him if he would come to the station.

        Detective Taylor showed Defendant the photo lineups. Detective Taylor credibly

testified that KB viewed the photo lineup, looked left to right, and “kind of paused at photo No.

3.” (Tr. at 114.) KB told Detective Taylor that he did not recognize anyone. He then viewed the

second photo lineup and again said that he did not recognize anyone. (Id.) When he looked at

the second photo lineup that included Kelsey Jones’ photograph, “there was no hesitation or

pausing at all.” Id. at 114. Detective Taylor then told KB they were going to close the case.

        KB testified that he viewed the lineups and told the Detectives that he did not recognize

anyone. He testified that he lied to the Detectives because he did recognize the shooter depicted

in the third photograph. He lied to them “because at that time when I was being sat down by

those Oak Park officers again, I didn’t want nothing to do with what was going on. I had just got

shot. I had a son on the way that I was going back and forth to my baby’s mother about and I

just wanted to be left alone, you know. And at that time, like I told them, I didn’t know nothing,

I didn’t see nothing, I just wanted to be left alone.” (Id. at 75.)




                                                   7
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 8 of 15 PageID #:1087




       D.      KB’s June 2, 2014 Post-Arrest Statement

       Special Agent Labno interviewed KB on June 2, 2014 at the ATF offices in Chicago after

arresting him pursuant to a warrant for selling crack cocaine. KB admitted his own criminal

conduct and told the ATF agents that he wanted to cooperate with them. KB agreed to

cooperate. The agents then asked him about the March 27, 2014 shooting. KB confirmed that he

had gone to the Oak Park Police station to view a photo lineup shortly after he was shot on

March 27, 2014. KB confirmed that he had seen the shooter depicted in the lineup that the Oak

Park police showed him on March 27, 2014, and that he stared at him. He confirmed that it was

Toby Jones. When the ATF agents asked KB why he did not identify his shooter at the meeting,

he responded “I live by a different code.” KB explained “I don’t snitch. People on the street

don’t snitch. They take care of stuff.” (Tr. at 33.) KB thereafter agreed to view photographs

and truthfully identify his shooter.

       KB described the individual who shot him for Agent Labno. His description closely

matched Defendant Toby Jones. Specifically, KB told Agent Labno before he showed KB any

photographs that the man who shot him was a stocky, light-skinned African American male with

a distinctive beard.

       At this point, Agent Labno went to get the two color lineups he had. (Gov. Ex. Taylor 1

and Gov. Ex. Taylor 2.) He explained that ATF did not have a color copier so he went to a

database which permitted him to print out arrest photographs in color. He printed individual,

large scale format pictures of each of the six individuals in the photo lineup. Agent Labno

credibly explained that he intended to place the six individual photographs on the table in front

of KB in the same order the photo lineup displayed them. He further explained that he did not

show KB the color photo lineup because “I thought I did better than that by showing him the



                                                 8
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 9 of 15 PageID #:1088




larger format pictures of the same people who were in the lineup in a photo spread format.” (Tr.

at 54.) Agent Labno did not want to create a photo lineup different than the one the Oak Park

Police showed him because “the commonality between the two photo spreads that he would have

seen would have just been the defendant. So, it would have unnecessarily or unduly affected his

identification….” (Id. at 58.) He also made a black and white copy of the photo lineup that KB

previously had viewed at the Oak Park Police Station.

       Agent Labno testified that he carried the six photographs back into the room with him in

the order they appeared in the lineup. Agent Labno explained that the top three photographs

were more predominant than the last three. (Id. at 41.) When Agent Labno walked back into the

room, he said that KB identified Toby Jones’ photograph as the man who shot him on March 27,

2014 before Agent Labno had the opportunity to place the individual photographs on the table.

Specifically, KB told Agent Labno “there’s his gay ass right there.” (Id. at 44.) Agent Labno

acknowledged that he could have done a better job with the procedure and suggested that he

should not have had the individual photographs visible to KB when he walked into the room.

Given this, Agent Labno testified that he thereafter “backed it up” and placed the six individual

photographs on the table in the same order as the photo lineup. (Id. at 44.) He told KB to look at

the photos and see if he could recognize the shooter and “there might be someone in there and

there might not be someone in here.” (Id.) KB again picked out Defendant Toby Jones as the

shooter. He thereafter initialed and dated the photograph. (Gov. Ex. Toby 1.) Agent Labno

testified that he then showed KB the original black and white photo lineup that Detective Taylor

had shown him at the Oak Park Police Station. KB circled the number “3” below Defendant

Toby Jones’ picture. (Gov. Ex. Toby 1). These details of the identification are not contained in

Agent Labno’s report.



                                                9
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 10 of 15 PageID #:1089




       KB remembered that he saw more than one picture, but he could not remember how

many. (Tr. at 87.) He saw Defendant’s picture, and told Agent Labno that it was “his gay ass”.

(Tr. at 107.) KB confirmed that the other pictures included pictures of light-skinned African

Americans and individuals with beards.

       E.      Grand Jury

       On June 17, 2014, KB appeared to testify before the grand jury pursuant to a subpoena.

Prior to his grand jury appearance, KB told ATF Special Agent Heiserman that he was no longer

certain that the individual whom he previously had identified as his shooter on March 27, 2014

was in fact the shooter. KB told Agent Heiserman that the individual who he previously

identified resembled the shooter in a number of ways, but he could say with only about “40

percent” certainty that it was actually the same person. (Tr. at 93, 98.) He further stated that he

had identified Defendant’s picture during his June 2, 2014 post-arrest interview because it was

the one picture the ATF agents had shown him, and because he recognized it as one of the

photographs in the photo lineup he had previously viewed during his interview with the

Detective from the Oak Park Police Department. During the interview, KB described the shooter

as “a black male with a bigger build and a beard.” (Tr. at 18.) He did not describe his

complexion. KB did not testify before the grand jury on June 17, 2014.

       During the hearing, KB testified that he lied to Agent Heiserman when he met with him

on June 17, 2014. (Id. at 93.) KB credibly testified that: “I wasn’t 40 percent sure. I was a

hundred percent sure.” (Id.)

       The government subsequently subpoenaed KB to appear before the grand jury. On

March 3, 2015, KB met with the government before testifying before the grand jury. During the

meeting, KB told law enforcement that he had not told them the truth on June 17, 2014 when he



                                                 10
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 11 of 15 PageID #:1090




said he was uncertain about his June 2, 2014 identification of the man who had shot him. In fact,

KB said he was, and always had been, certain of the man who had shot him on March 27, 2014.

KB said he changed his statement because he did not want to endanger himself or his family and

did not want to get involved in the situation. In addition, KB explained that when he went to the

Oak Park Police Station to view the photo lineup, he stared at the photograph of his shooter but

did not identify him. KB reaffirmed that when the agents showed him the lineup on June 2, 2014

and he circled photograph 3 as the person who shot him, he was truthfully identifying his

shooter. KB then testified before the grand jury.

        KB told the grand jury that when he went to the Oak Park Police Department to view the

photo lineups, he recognized the shooter in the photo lineup and stared at his photo. He

nonetheless did not disclose this identification to the Detective because he “did not want to get

involved in the investigation. (Def. Ex. 2, KB Grand Jury Statement at 9.) He further testified

that he had told Agent Labno the truth on June 2, 2014, when he met with him and identified

Defendant as the shooter. (Id. at 10.) He also identified Defendant on the photo lineup for the

grand jury. KB then testified regarding his June 17, 2014 meeting with Agent Heiserman:

                I told AUSA and the agent, that after thinking more about the events of
                March 27th, I was no longer certain I could positively identify my shooter.
                Specifically, I told the AUSA and the agent that the man I had previously
                identified as my shooter resembled the actual shooter in several ways, but I could
                not say with only about 40 percent certainty that he was the actual shooter. This
                was not true -- in fact, I was still 100 percent certain that the man I had identified
                as the shooter following my arrest on June 2nd was the actual shooter.

(Id. at 13.) KB explained to the grand jury that he had lied to Agent Heiserman because he did

not want to endanger himself or his family, and he did not want to get further involved in the

situation. (Id. at 14.)




                                                  11
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 12 of 15 PageID #:1091




III.   Law Enforcement Did not Use Any Suggestive and Unnecessary Procedures

       The Court turns to the first prong of the test -- whether the identification procedure that

law enforcement used was “both suggestive and unnecessary.” Defendant challenges the photo

lineup shown to Defendant initially on March 28, 2014 as unnecessarily suggestive. Viewing

that photo lineup, the Court disagrees. All six photographs depict African-American men. One

of the photos (#2) depicts a darker-skinned man. While the other five have lighter skin, it is true

that they nonetheless have different skin coloration. As the Seventh Circuit has observed,

however, different skin coloration “is inevitable in any array or sequence of photos—just as it is

inevitable that the facial hair, ear sizes, and chin shapes will not be identical. A ‘lineup of clones

is not required.’” Johnson, 745 F.3d at 230, citing United States v. Arrington, 159 F.3d 1069,

1073 (7th Cir. 1998). Moreover, “it’s impossible to find photos of persons who are identical to a

suspect ... and also undesirable, because then the witness wouldn’t be able to identify the

suspect.” Id., citing United States v. Ford, 683 F.3d 761, 766 (7th Cir. 2012). In addition, at

least five of the men have some facial hair. The men all appear to be in the same general age

range and the same build. The photo lineup does not make Defendant’s photograph stand out,

and thus it was not suggestive.

       In addition, the Oak Park Police Department created the photo lineup before KB gave an

accurate description of Defendant that matches how Defendant appears in the photo lineup. The

credible and consistent testimony of Detective Unzicker and Detective Taylor was that KB

described his shooter on the day of the shooting as a black male with a dark complexion, who

was clean shaven and about 27 or 28 years old. Officer Baudo’s stipulated testimony reflected

the same description by KB on March 27 – “a muscular dark skinned black male, approximately

27 to 28 years of age….” Although KB told Detective Taylor on March 28 that the shooter was



                                                 12
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 13 of 15 PageID #:1092




light-skinned, he said he was clean shaven. Given that the law enforcement officers did not have

an accurate description of the shooter until after the Oak Park Police officers designed the photo

lineup, Defendant cannot successfully claim that they created the lineup based on the description.

       Furthermore, Defendant has not identified anything suggestive in the procedures utilized

by Detective Taylor on March 28, 2014. Detective Taylor credibly testified that he gave KB the

color photo lineup, KB viewed the photo lineup, looked left to right, and “kind of paused at

photo No. 3,” Defendant’s photograph. He then told Detective Taylor that he did not recognize

anyone. KB corroborated that he paused at Defendant’s photograph because he recognized him

as the shooter. He did not want to get involved, however, so he denied any recognition.

       While Detective Taylor did not write a report regarding this meeting with KB, the

absence of a report does not amount to a due process violation. Defendant is free to cross

examine Detective Taylor on this fact.

       Defendant also argues that the procedures employed by Agent Labno on June 2, 2014

were unnecessarily suggestive. As an initial matter, the Court credits Agent Labno’s testimony

regarding the procedure. He did not simply show KB a single photograph of Defendant.

Instead, Agent Labno walked into the room where KB was waiting with all six individual

photographs in his hand. The top three photographs (photographs 1-3 in the photo lineup) were

more prevalent than the others. Before Agent Labno had the opportunity to place the

photographs on the table in the same order they appeared in the lineup, KB immediately

recognized the photograph of Toby Jones as the man who shot him on March 27, 2014. Both

Agent Labno and KB consistently and credibly testified that KB told him words to the effect of

“there’s his gay ass right there.” Realizing that this procedure was not ideal, Agent Labno then

placed the six individual photographs on the table in the same order as the photo lineup. He told



                                                13
  Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 14 of 15 PageID #:1093




KB to look at the photos and see if he could recognize the shooter and “there might be someone

in there and there might not be someone in here.” KB again picked out Defendant Toby Jones as

the shooter. The Court finds that this identification procedure was not unreasonably suggestive.

The Court’s ruling is further bolstered by the fact that KB previously saw the photo lineup at the

Oak Park Police Station on March 28, 2014 and recognized Defendant as the shooter at that time.

The Court agrees with Defendant that Agent Labno could have used a better procedure, but the

process he employed does not equate with a due process violation.

       As Defendant points out, Agent Labno’s report does not contain any information about

him showing KB the six individual photographs from the photo lineup. Again, the failure to

write a report may provide effective cross examination material, but it does not amount to a due

process violation.

       Because Defendant has failed to establish the first prong, namely, that law enforcement

officers orchestrated suggestive and unnecessary identification procedures, the Court need not

address the second prong of the test. The inconsistencies in KB’s statements to law enforcement

go to the reliability of his statements. This issue is one for the jury. See Perry, 132 S. Ct. at 721

(“[W]hen no improper law enforcement activity is involved, … it suffices to test reliability

through the rights and opportunities generally designed for that purpose, notably, … vigorous

cross-examination, protective rules of evidence, and jury instructions on both the fallibility of

eyewitness identification and the requirement that guilt be proved beyond a reasonable doubt.”).

There simply is not “a very substantial likelihood of irreparable misidentification” in this case.

Accordingly, the Court denies Defendant’s motion to suppress the witness identification by KB.




                                                 14
 Case: 1:14-cr-00155 Document #: 229 Filed: 09/24/15 Page 15 of 15 PageID #:1094




                                     CONCLUSION

      For the reasons discussed above, the Court denies Defendant’s motion.

Dated: September 24, 2015

                                                         ___________________
                                                         AMY J. ST. EVE
                                                         United States District Court Judge




                                             15
